                    UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                 1:15 CR 97-2

UNITED STATES OF AMERICA )
                         )
v.                       )
                         )
                         )                         ORDER
2) MEREDITH ANN YATES,   )
                         )
       Defendant.        )
                         )


      THIS MATTER came before the undersigned pursuant to a motion filed by

the Government entitled “United States’ Application and Proposed Order to

Maintain Property in Custody for Criminal Forfeiture” (#7). The motion did not

reflect that the Assistant United States Attorney had conferred with opposing

counsel concerning the motion as required by Local Rule of Criminal Procedure

47.1(B). At the call of this matter on for hearing on November 25, 2015, the

undersigned inquired of Defendant’s counsel as to whether or not there was any

objection by the Defendant to the motion. Counsel for Defendant advised that

Defendant had no objection to the Government maintaining and preserving the

firearms described in the motion, but was reserving all rights that Defendant might

have to present future claims regarding any of the firearms described in the motion.

As a result, the motion will be allowed.




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                                  ORDER

      IT IS, THEREFORE, ORDERED that the United States’ Application and

Proposed Order to Maintain Property in Custody for Criminal Forfeiture (#7) is

ALLOWED and the United States and its agencies is to maintain custody of the

following property pending the conclusion of further proceedings in this matter:

      1)     a Ruger, .308 caliber rifle, SN 680-10792
      2)     a Rossi, .357 caliber, ranch hand pistol, SN SNK290811
      3)     a Smith & Wesson, .357 caliber, model 686 revolver, SN CAZ8326
      4)     a Bushmaster, model XM-15E2S receiver, SN BK1708209
      5)     a Taurus 45/410 caliber, model Raging Judge revolver, SN FX688179
      6)     a Ruger, .380 caliber, model LCP pistol, SN 371395609
      7)     a Springfield Armory, .45 caliber, model Champion pistol, SN N557993
      8)     a Sig Sauer, 9mm caliber, model P239 pistol, SN SBU005283
      9)     a Ruger, .22 caliber, model 10/22 rifle, SN 823-17368
      10)    a Browning .16 gauge, model Sweet 16, shotgun, SN 19234
      11)    a Mossberg .12 gauge, model 500, shotgun, SN 212913
      12)    a Double Star Corp., 5.56 caliber, model Star 15, machinegun, SN DS33211
      13)    a Smith & Wesson, 5.56 caliber, model M&P 15, machinegun, SN 27604
      14)    a Browning .308 caliber, model 1919A4, machinegun, SN unknown,
      15)    a suppressor, black in color, no SN
      16)    a suppressor, camo in color, no SN
      17)    15 rounds of assorted ammunition

      IT IS FURTHER ORDERED that the United States and its agencies,

including the United States Marshal Service and the ATF and any other United

States agency is authorized to maintain and preserve the above described assets until

the conclusion of this matter.




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                             Signed: December 1, 2015




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